          Case 23-20895                   Doc 27 Filed 06/10/23 Entered 06/10/23 22:17:31                                                       Desc Imaged
                                                Certificate of Notice Page 1 of 6
Information to identify the case:
Debtor 1                John Arthur Stallings                                          Social Security number or ITIN     xxx−xx−4274

                        First Name    Middle Name   Last Name                          EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                               Social Security number or ITIN _ _ _ _
(Spouse, if filing)     First Name    Middle Name   Last Name
                                                                                       EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court      District of Utah
                                                                             Date case filed for chapter 13: 3/13/23
 Case number: 23−20895 KRA

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                  10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov). Case status information is available at no charge by calling the
Voice Case Information System (VCIS) at 1−866−222−8029.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                             About Debtor 1:                                                About Debtor 2:
1. Debtor's full name                        John Arthur Stallings

2. All other names used in the
   last 8 years
                                             8922 North Greenbriar Dr.
3. Address                                   Eagle Mountain, UT 84005
                                             Robert S. Payne                                               Contact phone (801) 980−1313
4. Debtor's  attorney
   Name and address
                                             8833 South Redwood Road
                                             Suite C
                                             West Jordan, UT 84088                                         Email: robertspaynelaw@gmail.com

5. Bankruptcy trustee                        Lon Jenkins tr                                                Contact phone 801−596−2884
     Name and address                        Ch. 13 Trustee's Office
                                             465 South 400 East                                            Email: utahtrusteemail@ch13ut.org
                                             Suite 200
                                             Salt Lake City, UT 84111

6. Bankruptcy clerk's office                                                                                Hours open: 8:00 AM to 4:30 PM, Monday −
     Documents in this case may be filed     United States Bankruptcy Court                                 Friday
     at this address.                        District of Utah
     You may inspect all records filed in    350 South Main #301
                                                                                                            Contact phone: (801) 524−6687
     this case at this office or online at   Salt Lake City, UT 84101
      https://pacer.uscourts.gov.
                                             Clerk of Court: David A. Sime                                  Website: www.utb.uscourts.gov

Official Form 309I Notice of Chapter 13 Bankruptcy Case                                                                                             page 1
Date Generated: 6/8/23                                                                                                  For more information, see page 2 >
        Case 23-20895                     Doc 27 Filed 06/10/23 Entered 06/10/23 22:17:31                                                           Desc Imaged
                                                Certificate of Notice Page 2 of 6
Debtor John Arthur Stallings                                                                                                            Case number 23−20895

7. Meeting of creditors                                                                   Meeting to be held on:
    Debtors must attend the meeting to    The meeting may be continued or adjourned
   be questioned under oath. In a joint   to a later date.                                Jul. 14, 2023 at 10:00 AM
   case, both spouses must attend.
   Creditors may attend, but are not      All individual debtor(s) must provide picture
   required to do so.                     identification and proof of social security     Location:
                                          number to the trustee. Failure to do so may     The meeting is by Zoom. Go to Zoom.us,
                                          result in your case being dismissed.
                                                                                          Click on JOIN or call 1 (385) 832−9074,
                                                                                          Enter Meeting ID 437 037 6107, and
                                                                                          Passcode 3375693596
                                 For additional meeting information go to https://www.justice.gov/ust/moc
8. Deadlines                              Deadline to file a complaint to challenge                              Filing deadline: 9/12/23
   The bankruptcy clerk's office must     dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following   You must file:
   deadlines.                             • a motion if you assert that the debtors are not entitled to receive a discharge
                                            under U.S.C. § 1328(f), or

                                          • a complaint if you want to have a particular debt excepted from discharge
                                            under 11 U.S.C. § 523(a)(2) or (4).
                                          Deadline for all creditors to file a proof of claim                    Filing deadline: 5/22/23
                                          (except governmental units):
                                          Deadline for governmental units to file a proof of                     Filing deadline: 9/11/23
                                          claim:


                                          Deadlines for filing proof of claim:
                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                           www.uscourts.gov or any bankruptcy clerk's office.
                                          If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                          proof of claim even if your claim is listed in the schedules that the debtor filed.
                                          Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                          claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                          example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                          right to a jury trial.


                                          Deadline to object to exemptions:                                      Filing               30 days after the
                                          The law permits debtors to keep certain property as exempt. If
                                          you believe that the law does not authorize an exemption               deadline:            conclusion of the
                                          claimed, you may file an objection.                                                         meeting of
                                                                                                                                      creditors
9. Filing of plan and                     The debtor has filed a plan.
   confirmation hearing on                The hearing on confirmation will be held on: 8/24/23 at 10:00 AM
   docket
                                          Location: This meeting is by Zoom. Go to, ZoomGov.com/join or call
                                          1+(669)254−5252, Enter Meeting ID 160 3007 6397, Passcode 6001201
   Objections to Confirmation              Objections to confirmation must be filed and served no later than 7 days before the date set for confirmation. If
                                          there are no timely filed objections to confirmation pending or if all objections to confirmation are resolved by a
                                          court order or a stipulation signed by the debtor, the trustee and the objecting party, a plan may be confirmed
                                          without objection, and the hearing stricken.
10. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                               extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                          questions about your rights in this case.
11. Filing a chapter 13                   Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                       according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                          plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                          the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                          debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                          court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                          to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                          that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                  Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                        are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                        as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                        523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                        you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                        must file a motion by the deadline.
Official Form 309I   Notice of Chapter 13 Bankruptcy Case                                                                                               page 2
           Case 23-20895                Doc 27 Filed 06/10/23 Entered 06/10/23 22:17:31                                              Desc Imaged
                                              Certificate of Notice Page 3 of 6
                                                              United States Bankruptcy Court
                                                                      District of Utah
In re:                                                                                                                 Case No. 23-20895-KRA
John Arthur Stallings                                                                                                  Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1088-2                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jun 08, 2023                                               Form ID: 309I                                                             Total Noticed: 61
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 10, 2023:
Recip ID                Recipient Name and Address
db                    + John Arthur Stallings, 8922 North Greenbriar Dr., Eagle Mountain, UT 84005-6027
aty                     Aaron M. Waite, Office of Utah Attorney General, 160 E 300 S, Fifth Floor, Salt Lake City, UT 84114
12191368              + Advanced Community Services, POB 179, Lehi, UT 84043-0179
12191376              + Balance Credit of utah, 324 S. State St, Suite 201, Salt Lake City, UT 84111-2393
12191388              + Desert Rock Capital Orem, 1160 S State St. #240, Orem, UT 84097-8258
12191390             #+ EK Real Estate Fund I, LLC c/o EasyKnock Inc., 111 W 33rd St # 1901, New York, NY 10001-2904
12191391              + FC&A, 103 Clover Green, Peachtree City, GA 30269-1664
12191394              + Gentry Finance WVC, 1829 W 3500 S #6, Salt Lake City, UT 84119-3435
12191396              + Green Trust Cash, POB 340, Hays, MT 59527-0340
12191397              + Homeserve, 601 Merritt 7, 6th floor, Norwalk, CT 06851-1174
12191405              + LendSwift, 80 Southwest 8th St, Suite 2000, Miami, FL 33130-3038
12191406              + Money Stash, 24130 Tomball Pkwy, Ste 200, Tomball, TX 77375-1939
12191411              + Post Lake Lending Inc., POB 368, Crandon, WI 54520-0368
12191412              + Publishing Clearing House, 101 Winners Circle, Jericho, NY 11753-2714
12191414                RSVP Loans, 15271 Garrance Pkwy, Suite C, Irvine, CA 92618
12191980              + Sandee Duncan, 591 Riverwalk Drive, American Fork UT 84003-1399
12191418              + Sunshine Loans, 631 Lucern Ave Suite 56, Lake Worth, FL 33460-3820
12191422             ++ TEMPOE LLC DBA WHY NOT LEASE IT, ATTN BOB HOLWADEL, 720 EAST PETE ROSE WAY SUITE 400, CINCINNATI OH
                        45202-3576 address filed with court:, Why Not Lease, 720 E Pete Rose Way, Suite 400, Cincinnati, OH 45202

TOTAL: 18

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: robertspaynelaw@gmail.com
                                                                                        Jun 08 2023 23:45:00      Robert S. Payne, 8833 South Redwood Road,
                                                                                                                  Suite C, West Jordan, UT 84088
tr                     + Email/Text: bnc@ch13ut.org
                                                                                        Jun 08 2023 23:46:00      Lon Jenkins tr, Ch. 13 Trustee's Office, 465 South
                                                                                                                  400 East, Suite 200, Salt Lake City, UT
                                                                                                                  84111-3345
cr                        EDI: UTAHTAXCOMM.COM
                                                                                        Jun 09 2023 03:41:00      Utah State Tax Commission, Attn Bankruptcy
                                                                                                                  Unit, 210 North 1950 West, Salt Lake City, UT
                                                                                                                  84134-9000
12191372                  Email/Text: bankruptcy@americascashadvanceinc.com
                                                                                        Jun 08 2023 23:46:00      America's Cash Advance, 312 Market St., Fulton,
                                                                                                                  MO 65251
12191374               + EDI: CINGMIDLAND.COM
                                                                                        Jun 09 2023 03:41:00      AT&T Mobility, 1025 Lenox Park Blvd, Atlanta,
                                                                                                                  GA 30319-5309
12191369               + Email/Text: bankruptcy@af247.com
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District/off: 1088-2                                          User: admin                                                           Page 2 of 4
Date Rcvd: Jun 08, 2023                                       Form ID: 309I                                                       Total Noticed: 61
                                                                              Jun 08 2023 23:46:00   Advanced Financial, 100 Oceanside Dr, Nashville,
                                                                                                     TN 37204-2351
12191370         + EDI: GMACFS.COM
                                                                              Jun 09 2023 03:41:00   Ally Financial, P O Box 380901, Bloomington,
                                                                                                     MN 55438-0901
12191371         + Email/Text: e-bankruptcy@americafirst.com
                                                                              Jun 08 2023 23:46:00   America First Credit U, Po Box 9199, Ogden, UT
                                                                                                     84409-0199
12191373         + Email/Text: collections@arrowheadadvance.com
                                                                              Jun 08 2023 23:46:00   Arrowhead Advance, POB 6048, Pine Ridge, SD
                                                                                                     57770-6048
12191377           Email/Text: bankruptcy@bigpictureloans.com
                                                                              Jun 08 2023 23:46:00   Big Pictures Loan, POB 704, Watersmeet, MI
                                                                                                     49969-0704
12191378           Email/Text: bankruptcy@ldf-holdings.com
                                                                              Jun 08 2023 23:46:00   Bridge Lending Solutions, 597 Peace Pipe Rd, Lac
                                                                                                     Du Flambeau, WI 54538
12191379         + Email/Text: cashamerica@nuvox.net
                                                                              Jun 08 2023 23:46:00   Cash America, 17 Triangle Park, Cincinnati, OH
                                                                                                     45246-3411
12191380         + Email/Text: bkinfo@ccfi.com
                                                                              Jun 08 2023 23:46:00   Cash Central, 5165 Emerald Pkwy, Suite 100,
                                                                                                     Dublin, OH 43017-1095
12191381           Email/Text: opsqa_usbankruptcy@cashnetusa.com
                                                                              Jun 08 2023 23:46:00   CashNet USA, POB 643990, Cincinnati, OH
                                                                                                     45264-3990
12191383         + Email/Text: accountservices@clearlineloans.com
                                                                              Jun 08 2023 23:46:00   Clearline Loans, 2520 St. Rose Pkwy, Suite 111,
                                                                                                     Henderson, NV 89074-7784
12191385         + Email/Text: ebnnotifications@creditacceptance.com
                                                                              Jun 08 2023 23:46:00   Credit Acceptance, POB 5070, Southfield, MI
                                                                                                     48086-5070
12191386           Email/PDF: creditonebknotifications@resurgent.com
                                                                              Jun 08 2023 23:49:28   Credit One, POB 60500, City of Industry, CA
                                                                                                     91716-0500
12191387         ^ MEBN
                                                                              Jun 08 2023 23:40:27   Debt Recovery Solutions LLC, POB 9003,
                                                                                                     Syosset, NY 11791-9003
12191389           Email/Text: cxs-doc-access@earnin.com
                                                                              Jun 08 2023 23:46:00   Earnin, 200 Portgage Ave, Palo Alto, CA 94306
12191392         + Email/Text: service@figloans.com
                                                                              Jun 08 2023 23:46:00   Fig Loans Texas, LLC, 2245 Texas Drive, Suite
                                                                                                     300, Sugar Land, TX 77479-1468
12229473         + Email/Text: opportunitynotices@gmail.com
                                                                              Jun 08 2023 23:46:00   First Electronic Bank, c/o Opportunity Financial,
                                                                                                     LLC, 130 E. Randolph Street, Suite 3400,
                                                                                                     Chicago, IL 60601-6379
12191393         + EDI: AMINFOFP.COM
                                                                              Jun 09 2023 03:41:00   First Premier Bank, 601 S Minnesota Ave, Sioux
                                                                                                     Falls, SD 57104-4868
12191395         + Email/Text: accountservices@greenarrowloans.com
                                                                              Jun 08 2023 23:46:00   Green Arrow Loans, POB 170, Finley, CA
                                                                                                     95435-0170
12191398         + EDI: LCIICSYSTEM
                                                                              Jun 09 2023 03:41:00   IC System Inc, P.O. Box 64378, Saint Paul, MN
                                                                                                     55164-0378
12191399         + Email/Text: intermountainhealthcare.bankruptcy@r1rcm.com
                                                                              Jun 08 2023 23:46:00   IHC, 5121 South Cottonwood Street, Salt Lake
                                                                                                     City, UT 84107-5701
12191402           EDI: IRS.COM
                                                                              Jun 09 2023 03:41:00   IRS, POB 7346, Philadelphia, PA 19101-7346
12191400         + EDI: PHINGENESIS
                                                                              Jun 09 2023 03:41:00   Indigo Credit Card, POB 4477, Beaverton, OR
                                                                                                     97076-4401
12227017           EDI: JEFFERSONCAP.COM
                                                                              Jun 09 2023 03:41:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                     Saint Cloud MN 56302-9617
12191404           Email/Text: todd@kwikcashonline.com
                                                                              Jun 08 2023 23:46:00   Kwikcash, Inc., 9150 Irvine Center Drive, Irvine,
                                                                                                     CA 92618
12191403         + Email/Text: CustomerService@KingOfKash.com
                                                                              Jun 08 2023 23:46:00   King of Kash, 8304 Wornall Rd, Kansas City, MO
                                                                                                     64114-5810
12191407           Email/Text: bankruptcy@moneylion.com
                                                                              Jun 08 2023 23:46:00   Moneylion, POB 1547, Sandy, UT 84091-1547
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District/off: 1088-2                                               User: admin                                                            Page 3 of 4
Date Rcvd: Jun 08, 2023                                            Form ID: 309I                                                        Total Noticed: 61
12191409              + Email/Text: opportunitynotices@gmail.com
                                                                                   Jun 08 2023 23:46:00     OppLoans (Opportunity FInancial LLC), 130 E.
                                                                                                            Randolph St, Suite 1650, Chicago, IL 60601-6241
12191410                 EDI: PRA.COM
                                                                                   Jun 09 2023 03:41:00     Portfolio Recovery, Attn: Bankruptcy, Po Box
                                                                                                            41067, Norfolk, VA 23541
12191412              ^ MEBN
                                                                                   Jun 08 2023 23:40:20     Publishing Clearing House, 101 Winners Circle,
                                                                                                            Jericho, NY 11753-2714
12191413              ^ MEBN
                                                                                   Jun 08 2023 23:40:26     Reflex Mastercard, POB 31292, Tampa, FL
                                                                                                            33631-3292
12191417                 EDI: AISSPRINT
                                                                                   Jun 09 2023 03:41:00     Sprint, POB 54977, Los Angeles, CA 90054
12191415              + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Jun 08 2023 23:46:00     Santander Consumer USA, POB 961245, Fort
                                                                                                            Worth, TX 76161-0244
12198431              + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Jun 08 2023 23:46:00     Santander Consumer USA, Inc., 1601 Elm St., Ste.
                                                                                                            800, Dallas, TX 75201-7260
12191943              + EDI: RMSC.COM
                                                                                   Jun 09 2023 03:41:00     Synchrony Bank, Care of PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021
12191419              + Email/Text: disputes@soaren-management.com
                                                                                   Jun 08 2023 23:46:00     Targetcash Now, POB 516, Hays, MT 59527-0516
12191421                 EDI: UTAHTAXCOMM.COM
                                                                                   Jun 09 2023 03:41:00     Utah State Tax Commission, Attn: Bankruptcy
                                                                                                            Unit, 210 N. 1950 W., Salt Lake City, UT
                                                                                                            84134-3340
12191423                 Email/Text: bk@worldacceptance.com
                                                                                   Jun 08 2023 23:46:05     World Finance, POB 6429, Greenville, SC
                                                                                                            29606-6429
12219618              + Email/Text: bk@worldacceptance.com
                                                                                   Jun 08 2023 23:46:50     World Finance c/o World Acceptance Corp., Attn:
                                                                                                            Bankruptcy Processing Center, PO Box 6429,
                                                                                                            Greenville, SC 29606-6429
12205954                 Email/Text: ZenResolve@ebn.phinsolutions.com
                                                                                   Jun 08 2023 23:46:00     Eagle Valley Lending in care of ZenResolve, 2770
                                                                                                            Mission Rancheria Rd #315, Lakeport, CA 95453

TOTAL: 44


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
12191375                      Atlas Acquisitions for Snap Finance, 294 Union St., RETURNED MAIL--99999
12191382                      Check N Go West SLC, 3861 W 5400 S, RETURNED MAIL--99999
12191384                      Convenient Loan SLC, 350 E 200 S, RETURNED MAIL--99999
12191408                      Noble Finance Toole, 1216 W Main St., RETURNED MAIL--99999
12191416                      Spotloan, POB 927, RETURNED MAIL--99999
12191420                      Utah Acceptance LLC, 750 Norleans St, 2nd floor, RETURNED MAIL--99999
12191401        ##+           Integra Credit, 200 W Jackson Blvd Ste 500, Chicago, IL 60606-6949

TOTAL: 6 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
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District/off: 1088-2                                              User: admin                                                            Page 4 of 4
Date Rcvd: Jun 08, 2023                                           Form ID: 309I                                                        Total Noticed: 61

Date: Jun 10, 2023                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 8, 2023 at the address(es) listed below:
Name                             Email Address
Aaron M. Waite
                                 on behalf of Creditor Utah State Tax Commission aaronmwaite@agutah.gov

Lon Jenkins tr
                                 ecfmail@ch13ut.org lneebling@ch13ut.org

Robert S. Payne
                                 on behalf of Debtor John Arthur Stallings robertspaynelaw@gmail.com
                                 robert_s_payne@yahoo.com;r51300@notify.bestcase.com

United States Trustee
                                 USTPRegion19.SK.ECF@usdoj.gov


TOTAL: 4
